              Case 20-11046-BFK                           Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                               Desc Main
                                                                          Document      Page 1 of 56
 Fill in this information to identify your case:

 Debtor 1                   Robert Morris Levin
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF VIRGINIA

 Case number           20-11046-BFK
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             792,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              15,023.95

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             807,023.95

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             915,019.39

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             404,754.97


                                                                                                                                     Your total liabilities $             1,319,774.36


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                9,867.58

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              10,165.06

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                      Desc Main
                                                                     Document      Page 2 of 56
 Debtor 1      Robert Morris Levin                                                        Case number (if known) 20-11046-BFK

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
               Case 20-11046-BFK                               Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                    Desc Main
                                                                               Document      Page 3 of 56
 Fill in this information to identify your case and this filing:

 Debtor 1                    Robert Morris Levin
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF VIRGINIA

 Case number            20-11046-BFK                                                                                                                             Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        9126 Briarwood Farms Ct.                                                       Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Fairfax                           VA        22031-1346                         Land                                       entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                               $792,000.00                $792,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Tenants by the entirety
        Fairfax                                                                        Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $792,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
             Case 20-11046-BFK                       Doc 18            Filed 05/04/20 Entered 05/04/20 16:04:55                                       Desc Main
                                                                      Document      Page 4 of 56
 Debtor 1        Robert Morris Levin                                                                                Case number (if known)       20-11046-BFK
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Lexus                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      ES300                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2006                                            Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                  84,000                Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $4,000.00                  $4,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $4,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Miscellaneous household goods and furnishings, including Living room:
                                    couch, side chair, 2 end tables, lamp, console table; Dining room: table
                                    & 6 chairs, buffet/server cabinet, upright bar; Kitchen: table & 4 chairs,
                                    dishes, utensils, glassware, pots & pans, coffee maker, toaster, mixer,
                                    mini grill; Family room: 2 sofas, 2 end tables, corner table, coffee table,
                                    4 lamps; Library/home office: table, 2 cabinets, file cabinet, chair;
                                    Master bedroom: bed, 3 dressers, 2 night stands, 2 lamps; Bedroom
                                    1/Sitting room: sofa, 2 end tables, recliner wicker chest; Bedroom 2: 2
                                    twin beds; Bedroom 3: queen bed, chest of drawers, bookcase, end
                                    table, chair; linens, iron, ironing board, clocks, and miscellaneous hand
                                    tools                                                                                                                           $1,250.00


                                    Miscellaneous books, photographs, pictures, CDs, and DVDs                                                                         $100.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Miscellaneous electronics, including 5 TVs, old stereo, computer,
                                    monitor, and printer                                                                                                              $250.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                     Desc Main
                                                                     Document      Page 5 of 56
 Debtor 1       Robert Morris Levin                                                                 Case number (if known)     20-11046-BFK
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    2 Todd White Giclee paintings                                                                                  $750.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Miscellaneous sporting goods and hobby equipment, including 4
                                    bicycles, treadmill, and recumbent bike                                                                        $200.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Miscellaneous men's clothing, including suits, shirts, pants, shoes,
                                    socks, undergarments, coats, sweaters, ties, belts, and accessories                                            $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Wedding band                                                                                                     $50.00


                                    6 watches                                                                                                      $300.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $3,100.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                       Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.



Official Form 106A/B                                                   Schedule A/B: Property                                                          page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
            Case 20-11046-BFK                                     Doc 18              Filed 05/04/20 Entered 05/04/20 16:04:55                                  Desc Main
                                                                                     Document      Page 6 of 56
 Debtor 1         Robert Morris Levin                                                                                               Case number (if known)   20-11046-BFK
16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                       Cash on hand                          $125.50


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Savings                                 SunTrust acct. #0173                                                       $321.01


                                                          Checking and                            Capital One Bank acct. #3781 ($2,548.24) and
                                              17.2.       Savings                                 acct. #1361 ($3,678.20)                                                   $6,226.44


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

                                                  Membership interest in Systems Support Products,
                                                  LLC dba Best Ergonomics                                                                 100          %                         $1.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


Official Form 106A/B                                                                       Schedule A/B: Property                                                                page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                        Desc Main
                                                                     Document      Page 7 of 56
 Debtor 1       Robert Morris Levin                                                                      Case number (if known)    20-11046-BFK
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         Unknown potential tax refunds and recovery
                                                            rebates                                            Federal and State                   Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                      Accrued sales commission, earned but not yet paid                                           $1,100.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                          Surrender or refund
                                                                                                                                      value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........
Official Form 106A/B                                                   Schedule A/B: Property                                                           page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
             Case 20-11046-BFK                            Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                               Desc Main
                                                                          Document      Page 8 of 56
 Debtor 1        Robert Morris Levin                                                                                             Case number (if known)        20-11046-BFK

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $7,773.95


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
        No
        Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
      No
        Yes. Describe.....


                                        2 file cabinets and old computer                                                                                                        $150.00


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
        No
        Yes. Describe.....


41. Inventory
        No
        Yes. Describe.....


42. Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                 % of ownership:


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....


44. Any business-related property you did not already list
        No
        Yes. Give specific information.........




Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                       Best Case Bankruptcy
            Case 20-11046-BFK                                Doc 18            Filed 05/04/20 Entered 05/04/20 16:04:55                                              Desc Main
                                                                              Document      Page 9 of 56
 Debtor 1         Robert Morris Levin                                                                                                   Case number (if known)   20-11046-BFK


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................                 $150.00

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $792,000.00
 56. Part 2: Total vehicles, line 5                                                                             $4,000.00
 57. Part 3: Total personal and household items, line 15                                                        $3,100.00
 58. Part 4: Total financial assets, line 36                                                                    $7,773.95
 59. Part 5: Total business-related property, line 45                                                             $150.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $15,023.95              Copy personal property total           $15,023.95

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $807,023.95




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
              Case 20-11046-BFK                      Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                             Desc Main
                                                                     Document     Page 10 of 56
 Fill in this information to identify your case:

 Debtor 1                Robert Morris Levin
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA

 Case number           20-11046-BFK
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      9126 Briarwood Farms Ct. Fairfax, VA                           $792,000.00                                      100%     11 U.S.C. § 522(b)(3)(B); VA
      22031-1346 Fairfax County                                                                                                Code §§ 34-4 & -6
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2006 Lexus ES300 84,000 miles                                    $4,000.00                                 $4,000.00     VA Code § 34-26(8); VA Code
      Line from Schedule A/B: 3.1                                                                                              §§ 34-4, -13 & -14
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Miscellaneous household goods and                                $1,250.00                                 $1,250.00     VA Code § 34-26(4a)
      furnishings, including Living room:
      couch, side chair, 2 end tables, lamp,                                               100% of fair market value, up to
      console table; Dining room: table & 6                                                any applicable statutory limit
      chairs, buffet/server cabinet, upright
      bar; Kitchen: table & 4 chairs, dishes,
      utensils, glassware, pots & pa
      Line from Schedule A/B: 6.1

      Miscellaneous books, photographs,                                   $100.00                                  $100.00     VA Code § 34-26(2) & (4a)
      pictures, CDs, and DVDs
      Line from Schedule A/B: 6.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 20-11046-BFK                        Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                Desc Main
                                                                     Document     Page 11 of 56
 Debtor 1    Robert Morris Levin                                                                         Case number (if known)     20-11046-BFK
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Miscellaneous electronics, including 5                              $250.00                                   $250.00        VA Code § 34-26(4a)
     TVs, old stereo, computer, monitor, and
     printer                                                                               100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                           any applicable statutory limit

     2 Todd White Giclee paintings                                       $750.00                                   $750.00        VA Code § 34-26(4a); VA Code
     Line from Schedule A/B: 8.1                                                                                                  §§ 34-4, -13 & -14
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Miscellaneous sporting goods and                                    $200.00                                   $200.00        VA Code § 34-26(4a)
     hobby equipment, including 4 bicycles,
     treadmill, and recumbent bike                                                         100% of fair market value, up to
     Line from Schedule A/B: 9.1                                                           any applicable statutory limit

     Miscellaneous men's clothing, including                             $200.00                                   $200.00        VA Code § 34-26(4)
     suits, shirts, pants, shoes, socks,
     undergarments, coats, sweaters, ties,                                                 100% of fair market value, up to
     belts, and accessories                                                                any applicable statutory limit
     Line from Schedule A/B: 11.1

     Wedding band                                                         $50.00                                      100%        VA Code § 34-26 (1a)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     6 watches                                                           $300.00                                   $300.00        VA Code § 34-26(4)
     Line from Schedule A/B: 12.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash on hand                                                        $125.50                                   $125.50        VA Code §§ 34-4, -13 & -14
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: SunTrust acct. #0173                                       $321.01                                   $321.01        VA Code §§ 34-4, -13 & -14
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking and Savings: Capital One                                 $6,226.44                                 $6,226.44        VA Code § 34-29; 42 U.S.C. §
     Bank acct. #3781 ($2,548.24) and acct.                                                                                       407; VA Code §§ 34-4, -13 &
     #1361 ($3,678.20)                                                                     100% of fair market value, up to       -14
     Line from Schedule A/B: 17.2                                                          any applicable statutory limit

     Membership interest in Systems                                         $1.00                                     $1.00       VA Code §§ 34-4, -13 & -14
     Support Products, LLC dba Best
     Ergonomics                                                                            100% of fair market value, up to
     100 % ownership                                                                       any applicable statutory limit
     Line from Schedule A/B: 19.1

     Federal and State: Unknown potential                              Unknown                                        $1.00       VA Code §§ 34-4, -13 & -14
     tax refunds and recovery rebates
     Line from Schedule A/B: 28.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
            Case 20-11046-BFK                        Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                Desc Main
                                                                     Document     Page 12 of 56
 Debtor 1    Robert Morris Levin                                                                         Case number (if known)     20-11046-BFK
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Accrued sales commission, earned but                              $1,100.00                                 $1,100.00        VA Code § 34-29; VA Code §§
     not yet paid                                                                                                                 34-4, -13 & -14 (as to $275)
     Line from Schedule A/B: 30.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 file cabinets and old computer                                    $150.00                                   $150.00        VA Code § 34-26(4a) & (7)
     Line from Schedule A/B: 39.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
              Case 20-11046-BFK                      Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                     Desc Main
                                                                     Document     Page 13 of 56
 Fill in this information to identify your case:

 Debtor 1                   Robert Morris Levin
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA

 Case number           20-11046-BFK
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     M&T Bank                                 Describe the property that secures the claim:               $251,973.16               $792,000.00         $123,019.39
         Creditor's Name                          9126 Briarwood Farms Ct. Fairfax, VA
                                                  22031-1346 Fairfax County
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 1302                            apply.
         Buffalo, NY 14240-1302                       Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   2nd priority deed of trust (SBA loan)
       community debt

 Date debt was incurred          7/14/11                   Last 4 digits of account number        1634




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
            Case 20-11046-BFK                            Doc 18        Filed 05/04/20 Entered 05/04/20 16:04:55                                             Desc Main
                                                                      Document     Page 14 of 56
 Debtor 1 Robert Morris Levin                                                                                 Case number (if known)        20-11046-BFK
               First Name                  Middle Name                      Last Name


 2.2     U.S. Bank Home Mortgage                    Describe the property that secures the claim:                   $663,046.23                $792,000.00                  $0.00
         Creditor's Name                            9126 Briarwood Farms Ct. Fairfax, VA
                                                    22031-1346 Fairfax County
         P.O. Box 790415
                                                    As of the date you file, the claim is: Check all that
         Saint Louis, MO                            apply.
         63179-0415                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   1st priority deed of trust
       community debt

                                 October
 Date debt was incurred          2010                        Last 4 digits of account number         3453



   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $915,019.39
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $915,019.39

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          CoastProfessional, Inc.
          P.O. Box 246                                                                                Last 4 digits of account number
          Geneseo, NY 14454

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          J. Baker McClanahan, Jr.
          Randolph, Boyd, et al.                                                                      Last 4 digits of account number
          14 E. Main St.
          Richmond, VA 23219

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          U.S. Dept. of the Treasury
          Bureau of the Fiscal Service                                                                Last 4 digits of account number
          P.O. Box 830794
          Birmingham, AL 35283-0794




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
              Case 20-11046-BFK                         Doc 18         Filed 05/04/20 Entered 05/04/20 16:04:55                                        Desc Main
                                                                      Document     Page 15 of 56
 Fill in this information to identify your case:

 Debtor 1                     Robert Morris Levin
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                EASTERN DISTRICT OF VIRGINIA

 Case number           20-11046-BFK
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
 2.1          Commonwealth of Virginia                               Last 4 digits of account number                           Unknown                $0.00                 $0.00
              Priority Creditor's Name
              Dept. of Taxation                                      When was the debt incurred?           2015-2016
              Legal Unit, P.O. Box 2156
              Richmond, VA 23218
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes                                                                        Claim against System Support Products, LLC, listed
                                                                                         for information only




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                              10952                                           Best Case Bankruptcy
            Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                            Desc Main
                                                                      Document     Page 16 of 56
 Debtor 1 Robert Morris Levin                                                                              Case number (if known)            20-11046-BFK

 2.2        Internal Revenue Service                                 Last 4 digits of account number                          Unknown                Unknown                Unknown
            Priority Creditor's Name
            400 N. 8th Street, Box 76                                When was the debt incurred?         2015-2016
            Stop Room 898
            Richmond, VA 23219
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only
                                                                        Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:
            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No
                                                                        Other. Specify
            Yes                                                                            Claim against System Support Products, LLC, listed
                                                                                           for information only


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Aftech Advanced Fabricating Co                             Last 4 digits of account number                                                                    $1,842.64
            Nonpriority Creditor's Name
            687 Byrne Industrial Dr.                                   When was the debt incurred?
            Rockford, MI 49341
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Claim solely against Systems Support
                 Yes                                                       Other. Specify    Products, LLC, listed for information only




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 17 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.2      Air Movers, Inc.                                           Last 4 digits of account number                                                            $1,554.00
          Nonpriority Creditor's Name
          7721-B2 Fullerton Rd.                                      When was the debt incurred?
          Springfield, VA 22153
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.3      AllianceOne                                                Last 4 digits of account number                                                            $1,205.00
          Nonpriority Creditor's Name
          4850 Street Rd., Suite 300                                 When was the debt incurred?
          Trevose, PA 19053
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.4      Bolhouse, Baar & Hofstee, PC                               Last 4 digits of account number       0418                                                 $6,681.96
          Nonpriority Creditor's Name
          3996 Chicago Dr., SW                                       When was the debt incurred?
          Grandville, MI 49418-1384
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim against Systems Support Products, LLC,
              Yes                                                       Other. Specify   personally guaranteed




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 18 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.5      Brooks Brothers                                            Last 4 digits of account number       3159                                                 $5,133.38
          Nonpriority Creditor's Name
          P.O. Box 9001006                                           When was the debt incurred?
          Louisville, KY 40290-1006
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Retail credit card


 4.6      Byrne Electrical Specialists                               Last 4 digits of account number                                                            $1,228.68
          Nonpriority Creditor's Name
          320 Byrne Industrial Dr.                                   When was the debt incurred?
          Rockford, MI 49341
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.7      Canada Revenue Agency                                      Last 4 digits of account number                                                          $30,162.63
          Nonpriority Creditor's Name
          P.O. Box 3800 STN A                                        When was the debt incurred?
          Sudbury, ON P3A0C3
          CANADA
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim against Systems Support Products, LLC,
              Yes                                                       Other. Specify   listed for information only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 4 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 19 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.8      Capital One Bank                                           Last 4 digits of account number       0967                                                   $409.47
          Nonpriority Creditor's Name
          Deposit Recovery Dept.                                     When was the debt incurred?
          P.O. Box 85057
          Richmond, VA 23285-5057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.9      Capital One Bank (USA), N.A.                               Last 4 digits of account number       4951                                                   $684.06
          Nonpriority Creditor's Name
          P.O. Box 71083                                             When was the debt incurred?
          Charlotte, NC 28272-1083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim against Systems Support Products, LLC,
              Yes                                                       Other. Specify   personally guaranteed


 4.1
 0        Chantilly Parc, LLC                                        Last 4 digits of account number                                                          $35,055.95
          Nonpriority Creditor's Name
          c/o Pruitt Corporation                                     When was the debt incurred?
          14900 Bogle Dr.
          Chantilly, VA 20151
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 5 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 20 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.1
 1        Citibank, N.A.                                             Last 4 digits of account number       7422                                                  Unknown
          Nonpriority Creditor's Name
          P.O. Box 790110                                            When was the debt incurred?
          Saint Louis, MO 63179-0110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Levin Associates, listed
              Yes                                                       Other. Specify   for information only


 4.1
 2        Dell Financial Services                                    Last 4 digits of account number                                                            $3,184.44
          Nonpriority Creditor's Name
          P.O. Box 5275                                              When was the debt incurred?
          Carol Stream, IL 60197-5275
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.1
 3        Dental Associates Burke                                    Last 4 digits of account number       0659                                                   $239.40
          Nonpriority Creditor's Name
          6035 Burke Centre Pkwy.                                    When was the debt incurred?
          Suite 200
          Burke, VA 22015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Dental bill




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 6 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 21 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.1
 4        E. Clifton Ingram Jr. CPA                                  Last 4 digits of account number                                                            $8,425.00
          Nonpriority Creditor's Name
          3 Interstate Corporate Center                              When was the debt incurred?
          Suite 225
          Norfolk, VA 23502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.1
 5        Electri-Cable Assembly, Inc.                               Last 4 digits of account number                                                            $5,649.90
          Nonpriority Creditor's Name
          10 Mountain View Dr.                                       When was the debt incurred?
          Shelton, CT 06484
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.1
 6        Envision Automation, LLC                                   Last 4 digits of account number                                                            $3,694.50
          Nonpriority Creditor's Name
          7200 Easy St.                                              When was the debt incurred?
          Temple Hills, MD 20748
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 7 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 22 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.1
 7        Estes Express Lines                                        Last 4 digits of account number                                                            $1,563.75
          Nonpriority Creditor's Name
          P.O. Box 25612                                             When was the debt incurred?
          Richmond, VA 23260-5612
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.1
 8        Federal Express                                            Last 4 digits of account number                                                            $1,647.67
          Nonpriority Creditor's Name
          P.O. Box 371461                                            When was the debt incurred?
          Pittsburgh, PA 15250-7461
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.1
 9        Flinn & Beagan                                             Last 4 digits of account number                                                            $1,205.00
          Nonpriority Creditor's Name
          8300 Boone Blvd., Suite 225                                When was the debt incurred?
          Vienna, VA 22182-2630
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 8 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 23 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.2
 0        Gibraltar GB Products                                      Last 4 digits of account number                                                            $1,500.00
          Nonpriority Creditor's Name
          421 N. Centennial St.                                      When was the debt incurred?
          Zeeland, MI 49464
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.2
 1        Hathaway                                                   Last 4 digits of account number                                                              $147.84
          Nonpriority Creditor's Name
          347 S. Oak Ln.                                             When was the debt incurred?
          Waynesboro, VA 22980
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.2
 2        High-Q Lighting, Inc.                                      Last 4 digits of account number                                                            $2,000.00
          Nonpriority Creditor's Name
          11439 E. Lakwood Blvd.                                     When was the debt incurred?
          Holland, MI 49424
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 9 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 24 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.2
 3        Inova                                                      Last 4 digits of account number       4399                                                   $226.15
          Nonpriority Creditor's Name
          P.O. Box 37013                                             When was the debt incurred?           11/22/19-11/23/19
          Baltimore, MD 21297-3013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical bill


 4.2
 4        IS Tech Support, Inc.                                      Last 4 digits of account number                                                            $1,400.00
          Nonpriority Creditor's Name
          P.O. Box 1494                                              When was the debt incurred?
          Whittier, CA 90609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.2
 5        Keystone Laminates, Inc.                                   Last 4 digits of account number                                                          $13,310.80
          Nonpriority Creditor's Name
          375 Ivyland Rd., Unit 21                                   When was the debt incurred?
          Warminster, PA 18974
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 10 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 25 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.2
 6        Knape & Vogt Manufacturing Co.                             Last 4 digits of account number                                                         $173,341.28
          Nonpriority Creditor's Name
          2700 Oak Industiral Dr., NE                                When was the debt incurred?
          Grand Rapids, MI 49505
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim against Systems Support Products, LLC,
              Yes                                                       Other. Specify   personally guaranteed


 4.2
 7        Light Corp.                                                Last 4 digits of account number                                                          $34,287.25
          Nonpriority Creditor's Name
          14800 172nd Ave.                                           When was the debt incurred?
          Grand Haven, MI 49417
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.2
 8        Link + Corporation                                         Last 4 digits of account number                                                              $425.38
          Nonpriority Creditor's Name
          10-4380 Wellington Rd. South                               When was the debt incurred?
          London, ON B6E2Z6
          CANADA
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 11 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 26 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.2
 9        M&T Bank                                                   Last 4 digits of account number                                                              $663.18
          Nonpriority Creditor's Name
          P.O. Box 1302                                              When was the debt incurred?
          Buffalo, NY 14240-1302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.3
 0        Micro Plastics, Inc.                                       Last 4 digits of account number                                                              $796.12
          Nonpriority Creditor's Name
          Hwy. 178 N.                                                When was the debt incurred?
          P.O. Box 149
          Flippin, AR 72634-0149
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.3
 1        Office Depot Business Credit                               Last 4 digits of account number       4201                                                   $116.87
          Nonpriority Creditor's Name
          P.O. Box 790439                                            When was the debt incurred?
          St. Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim against Levin Associates, personally
              Yes                                                       Other. Specify   guaranteed




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 12 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 27 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.3
 2        Offix                                                      Last 4 digits of account number                                                            $4,877.56
          Nonpriority Creditor's Name
          13525 Wellington Center Cir.                               When was the debt incurred?
          Suite 107
          Gainesville, VA 20155
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.3
 3        Pitt Ohio Express, LLC                                     Last 4 digits of account number                                                            $2,776.89
          Nonpriority Creditor's Name
          15 27th St.                                                When was the debt incurred?
          Pittsburgh, PA 15222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.3
 4        Public Storage                                             Last 4 digits of account number       0091                                                 $1,290.70
          Nonpriority Creditor's Name
          2818 Merrilee Dr.                                          When was the debt incurred?
          Fairfax, VA 22031-4410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Unpaid storage fees for business property in
              Yes                                                       Other. Specify   Unit 3404




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 13 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 28 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.3
 5        Public Storage                                             Last 4 digits of account number       0083                                                 $1,625.10
          Nonpriority Creditor's Name
          2818 Merrilee Dr.                                          When was the debt incurred?
          Fairfax, VA 22031-4410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Unpaid storage fees for business property in
              Yes                                                       Other. Specify   Unit 3503


 4.3
 6        Quest Diagnostics                                          Last 4 digits of account number       2933                                                   $154.99
          Nonpriority Creditor's Name
          P.O. Box 740880                                            When was the debt incurred?           10/9/15
          Cincinnati, OH 45274-0880
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical bill


 4.3
 7        R&L Carriers, Inc.                                         Last 4 digits of account number                                                              $455.27
          Nonpriority Creditor's Name
          P.O. Box 10020                                             When was the debt incurred?
          Port William, OH 45164-2000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 14 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 29 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.3
 8        Rees, Broome, PC                                           Last 4 digits of account number                                                             Unknown
          Nonpriority Creditor's Name
          1900 Gallows Rd., Suite 700                                When was the debt incurred?
          Vienna, VA 22182
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.3
 9        Softworqs, Div. of UC Ind.                                 Last 4 digits of account number                                                              $482.40
          Nonpriority Creditor's Name
          3900 E. Valley Blvd., Suite F                              When was the debt incurred?
          Walnut, CA 91789
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.4
 0        South Central Polymers, Inc.                               Last 4 digits of account number                                                            $1,041.00
          Nonpriority Creditor's Name
          535 Highway 145 North                                      When was the debt incurred?
          Booneville, MS 38829
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 15 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 30 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.4
 1        Techne TSC                                                 Last 4 digits of account number                                                          $51,940.00
          Nonpriority Creditor's Name
          332 Avro                                                   When was the debt incurred?
          Pointe-Claire, QC H9R5W5
          CANADA
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.4
 2        TruGreen                                                   Last 4 digits of account number       5912                                                   $152.85
          Nonpriority Creditor's Name
          P.O. Box 9001128                                           When was the debt incurred?
          Louisville, KY 40290-1128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lawn maintenance


 4.4
 3        United Parcel Service                                      Last 4 digits of account number                                                            $1,244.21
          Nonpriority Creditor's Name
          P.O. Box 7247-0244                                         When was the debt incurred?
          Philadelphia, PA 19170-0001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 16 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 31 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)         20-11046-BFK

 4.4
 4        US Tech, LLC                                               Last 4 digits of account number                                                              $455.90
          Nonpriority Creditor's Name
          P.O. Box 120                                               When was the debt incurred?
          Port Tobacco, MD 20677
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only


 4.4
 5        Villa del Palmar - PV                                      Last 4 digits of account number       5067                                                  Unknown
          Nonpriority Creditor's Name
          Constructora de Los Ancos del                              When was the debt incurred?
          P.O. Box 51469
          Los Angeles, CA 90051-5769
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Timeshare maintenance fees


 4.4
 6        Virginia Heart/IHCS                                        Last 4 digits of account number       3379                                                   $435.70
          Nonpriority Creditor's Name
          2901 Telestar Ct., Suite 300                               When was the debt incurred?           11/27/19
          Falls Church, VA 22042-1263
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical bill




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 17 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                          Desc Main
                                                                     Document     Page 32 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)          20-11046-BFK

 4.4
 7         Washington Gas                                            Last 4 digits of account number                                                                    $40.10
           Nonpriority Creditor's Name
           P.O. Box 37747                                            When was the debt incurred?
           Philadelphia, PA 19101-5047
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim solely against Systems Support
              Yes                                                       Other. Specify   Products, LLC, listed for information only

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AllianceOne                                                   Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 4850 Street Rd., Suite 300                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Trevose, PA 19053
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AlliedInterstate, LLC                                         Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 361445                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43236
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AMCB                                                          Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 37005                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Baltimore, MD 21297-3005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ARSI                                                          Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 555 St. Charles Dr., Suite 110                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Thousand Oaks, CA 91360-3983
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Collection Services                                    Line 4.36 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 55126                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Boston, MA 02205-5126
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 King & Nordlinger, LLP                                        Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3030 Clarendon Blvd.                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 300
 Arlington, VA 22201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Marc Stevens, Esq.                                            Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 McKenzie, Becker & Stevens                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 8 Holley St., P.O. Box 1967
 Lakeville, CT 06039
                                                               Last 4 digits of account number

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 18 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                         Desc Main
                                                                     Document     Page 33 of 56
 Debtor 1 Robert Morris Levin                                                                            Case number (if known)          20-11046-BFK

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rees, Broome, PC                                              Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1900 Gallows Rd., Suite 700                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Vienna, VA 22182
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  404,754.97

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  404,754.97




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 19 of 19
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
              Case 20-11046-BFK                        Doc 18         Filed 05/04/20 Entered 05/04/20 16:04:55                           Desc Main
                                                                     Document     Page 34 of 56
 Fill in this information to identify your case:

 Debtor 1                  Robert Morris Levin
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF VIRGINIA

 Case number           20-11046-BFK
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Villa del Palmar - PV                                                      Debtor is party to a time-share contract with this entity for a
               Constructora de Los Ancos del                                              Baja California condominium, at the rate of $645/yr.
               P.O. Box 51469
               Los Angeles, CA 90051-5769




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
              Case 20-11046-BFK                          Doc 18         Filed 05/04/20 Entered 05/04/20 16:04:55               Desc Main
                                                                       Document     Page 35 of 56
 Fill in this information to identify your case:

 Debtor 1                   Robert Morris Levin
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF VIRGINIA

 Case number           20-11046-BFK
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Levin Associates                                                                       Schedule D, line
                9126 Briarwood Farms Ct.                                                               Schedule E/F, line   4.31
                Fairfax, VA 22031-1346
                                                                                                       Schedule G
                                                                                                    Office Depot Business Credit



    3.2         Systems Support Products, LLC                                                         Schedule D, line   2.1
                9126 Briarwood Farms Ct.                                                              Schedule E/F, line
                Fairfax, VA 22031-1346
                                                                                                      Schedule G
                                                                                                    M&T Bank



    3.3         Systems Support Products, LLC                                                         Schedule D, line
                9126 Briarwood Farms Ct.                                                              Schedule E/F, line   4.4
                Fairfax, VA 22031-1346
                                                                                                      Schedule G
                                                                                                    Bolhouse, Baar & Hofstee, PC




Official Form 106H                                                              Schedule H: Your Codebtors                                  Page 1 of 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                Desc Main
                                                                     Document     Page 36 of 56
 Debtor 1 Robert Morris Levin                                                                Case number (if known)   20-11046-BFK


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.4      Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line   4.9
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Capital One Bank (USA), N.A.



    3.5      Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.8
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Capital One Bank



    3.6      Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line     4.11
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  Citibank, N.A.



    3.7      Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line   2.1
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Commonwealth of Virginia



    3.8      Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line   2.2
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  Internal Revenue Service



    3.9      Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.34
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Public Storage



    3.10     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.35
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Public Storage



    3.11     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line  4.26
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Knape & Vogt Manufacturing Co.




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 2 of 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                Desc Main
                                                                     Document     Page 37 of 56
 Debtor 1 Robert Morris Levin                                                                Case number (if known)   20-11046-BFK


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.12     Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line     4.27
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  Light Corp.



    3.13     Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line  4.1
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  Aftech Advanced Fabricating Co



    3.14     Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line     4.2
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  Air Movers, Inc.



    3.15     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.6
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Byrne Electrical Specialists



    3.16     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line    4.12
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Dell Financial Services



    3.17     Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line    4.15
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  Electri-Cable Assembly, Inc.



    3.18     Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line    4.14
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  E. Clifton Ingram Jr. CPA



    3.19     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line   4.16
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Envision Automation, LLC




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 3 of 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                Desc Main
                                                                     Document     Page 38 of 56
 Debtor 1 Robert Morris Levin                                                                Case number (if known)   20-11046-BFK


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.20     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.17
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Estes Express Lines



    3.21     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.18
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Federal Express



    3.22     Systems Support Products, LLC                                                            Schedule D, line
             9126 Briarwood Farms Ct.                                                                 Schedule E/F, line    4.3
             Fairfax, VA 22031-1346
                                                                                                      Schedule G
                                                                                                  AllianceOne



    3.23     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.20
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Gibraltar GB Products



    3.24     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.21
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Hathaway



    3.25     Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line     4.22
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  High-Q Lighting, Inc.



    3.26     Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line     4.24
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  IS Tech Support, Inc.



    3.27     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line   4.25
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Keystone Laminates, Inc.




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 4 of 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                Desc Main
                                                                     Document     Page 39 of 56
 Debtor 1 Robert Morris Levin                                                                Case number (if known)   20-11046-BFK


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.28     Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line     4.28
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  Link + Corporation



    3.29     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.29
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  M&T Bank



    3.30     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.30
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Micro Plastics, Inc.



    3.31     Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line     4.32
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  Offix



    3.32     Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line  4.33
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  Pitt Ohio Express, LLC



    3.33     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.37
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  R&L Carriers, Inc.



    3.34     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line     4.39
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Softworqs, Div. of UC Ind.



    3.35     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line    4.40
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  South Central Polymers, Inc.




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 5 of 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                Desc Main
                                                                     Document     Page 40 of 56
 Debtor 1 Robert Morris Levin                                                                Case number (if known)   20-11046-BFK


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.36     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.41
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Techne TSC



    3.37     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.43
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  United Parcel Service



    3.38     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.44
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  US Tech, LLC



    3.39     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.47
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Washington Gas



    3.40     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line 4.7
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Canada Revenue Agency



    3.41     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.10
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Chantilly Parc, LLC



    3.42     Systems Support Products, LLC                                                           Schedule D, line
             9126 Briarwood Farms Ct.                                                                Schedule E/F, line     4.19
             Fairfax, VA 22031-1346
                                                                                                     Schedule G
                                                                                                  Flinn & Beagan



    3.43     Systems Support Products, LLC                                                          Schedule D, line
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line      4.38
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  Rees, Broome, PC




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 6 of 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                Desc Main
                                                                     Document     Page 41 of 56
 Debtor 1 Robert Morris Levin                                                                Case number (if known)   20-11046-BFK


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.44     Terri Levin                                                                            Schedule D, line   2.2
             9126 Briarwood Farms Ct.                                                               Schedule E/F, line
             Fairfax, VA 22031-1346
                                                                                                    Schedule G
                                                                                                  U.S. Bank Home Mortgage




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 7 of 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
             Case 20-11046-BFK                    Doc 18    Filed 05/04/20 Entered 05/04/20 16:04:55                                Desc Main
                                                           Document     Page 42 of 56


Fill in this information to identify your case:

Debtor 1                      Robert Morris Levin

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF VIRGINIA

Case number               20-11046-BFK                                                                  Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Salesman                                    Office manager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       The Carpet Yard                             Blackrock Holdings, LLC

       Occupation may include student        Employer's address
                                                                   1315 Chain Bridge Rd.                       1489 Chain Bridge Rd., Suite 200
       or homemaker, if it applies.
                                                                   McLean, VA 22101                            McLean, VA 22101

                                             How long employed there?         8 months                                  6 1/2 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $         5,484.85

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $   5,484.85




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
           Case 20-11046-BFK               Doc 18      Filed 05/04/20 Entered 05/04/20 16:04:55                                    Desc Main
                                                      Document     Page 43 of 56

Debtor 1    Robert Morris Levin                                                                  Case number (if known)    20-11046-BFK


                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $         5,484.85

5.   List all payroll deductions:
     5a.     Tax, Medicare, and Social Security deductions                                5a.        $              0.00     $          662.61
     5b.     Mandatory contributions for retirement plans                                 5b.        $              0.00     $            0.00
     5c.     Voluntary contributions for retirement plans                                 5c.        $              0.00     $        1,087.65
     5d.     Required repayments of retirement fund loans                                 5d.        $              0.00     $            0.00
     5e.     Insurance                                                                    5e.        $              0.00     $          108.33
     5f.     Domestic support obligations                                                 5f.        $              0.00     $            0.00
     5g.     Union dues                                                                   5g.        $              0.00     $            0.00
     5h.     Other deductions. Specify:                                                   5h.+       $              0.00 +   $            0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $        1,858.59
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $        3,626.26
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $          0.00         $            0.00
     8d. Unemployment compensation                                                        8d.        $          0.00         $            0.00
     8e. Social Security                                                                  8e.        $      1,911.00         $        2,357.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                      0.00
     8g. Pension or retirement income                                                     8g. $                 0.00   $                      0.00
     8h. Other monthly income. Specify: Commission                                        8h.+ $            1,973.32 + $                      0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          3,884.32         $           2,357.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,884.32 + $         5,983.26 = $           9,867.58
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.    $          9,867.58
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor has been furloughed due to the pandemic and does not know when his income (base pay of $500
                             bi-weekly, plus commissions) will resume




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
        Case 20-11046-BFK                     Doc 18        Filed 05/04/20 Entered 05/04/20 16:04:55                                  Desc Main
                                                           Document     Page 44 of 56


Fill in this information to identify your case:

Debtor 1                 Robert Morris Levin                                                               Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY

Case number           20-11046-BFK
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            3,414.51

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            250.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             57.50
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                          2,513.18




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
       Case 20-11046-BFK                      Doc 18        Filed 05/04/20 Entered 05/04/20 16:04:55                                        Desc Main
                                                           Document     Page 45 of 56

Debtor 1     Robert Morris Levin                                                                       Case number (if known)      20-11046-BFK

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                375.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 60.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                314.53
      6d. Other. Specify: Lawn service                                                       6d. $                                                105.00
7.    Food and housekeeping supplies                                                           7. $                                             1,000.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               175.00
10.   Personal care products and services                                                    10. $                                                150.00
11.   Medical and dental expenses                                                            11. $                                                200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 570.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 200.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  155.25
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  195.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal property taxes on vehicles                                           16. $                                                  24.43
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  405.66
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      10,165.06
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      10,165.06
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               9,867.58
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             10,165.06

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -297.48

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
              Case 20-11046-BFK                      Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                         Desc Main
                                                                     Document     Page 46 of 56




 Fill in this information to identify your case:

 Debtor 1                    Robert Morris Levin
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA

 Case number              20-11046-BFK
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Robert Morris Levin                                                   X
              Robert Morris Levin                                                       Signature of Debtor 2
              Signature of Debtor 1

              Date       May 4, 2020                                                    Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
              Case 20-11046-BFK                      Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                               Desc Main
                                                                     Document     Page 47 of 56



 Fill in this information to identify your case:

 Debtor 1                  Robert Morris Levin
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA

 Case number           20-11046-BFK
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $11,025.74           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                               Desc Main
                                                                     Document     Page 48 of 56
 Debtor 1      Robert Morris Levin                                                                         Case number (if known)   20-11046-BFK


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income          Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.      (before deductions
                                                                                    exclusions)                                               and exclusions)

 For last calendar year:                              Wages, commissions,                       $27,636.36           Wages, commissions,
 (January 1 to December 31, 2019 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                         $2,991.00          Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income          Gross income
                                                   Describe below.                  each source                    Describe below.            (before deductions
                                                                                    (before deductions and                                    and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Social security benefits                                    $5,733.00
 the date you filed for bankruptcy:

 For last calendar year:                           Social security benefits                     $22,572.00
 (January 1 to December 31, 2019 )

 For the calendar year before that:                Social security benefits                       $5,568.00
 (January 1 to December 31, 2018 )


                                                   Interest                                            $1.00


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                Desc Main
                                                                     Document     Page 49 of 56
 Debtor 1      Robert Morris Levin                                                                         Case number (if known)    20-11046-BFK


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe
       U.S. Bank Home Mortgage                                  Regular mortgage              $10,243.53          $663,046.23          Mortgage
       P.O. Box 790415                                          payments over last                                                     Car
       Saint Louis, MO 63179-0415                               90 days
                                                                                                                                       Credit Card
                                                                                                                                       Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       M&T Bank v. Robert M. Levin, et al.                      Civil action                Fairfax County Circuit Court                Pending
       Case No. CL-2017-0002007                                                             4110 Chain Bridge Rd.                       On appeal
                                                                                            Fairfax, VA 22030
                                                                                                                                        Concluded


       Knape & Vogt Manufacturing                               Civil action                State of Michigan                           Pending
       Coompany v. Robert M. Levin, et al.                                                  17th Circuit Court of Kent                  On appeal
       Case No. 16-06084-CKB                                                                County
                                                                                                                                        Concluded
                                                                                            180 Ottawa Ave., N.W.
                                                                                            Grand Rapids, MI 49503
                                                                                                                                     Judgment entered 6/23/17


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                  Desc Main
                                                                     Document     Page 50 of 56
 Debtor 1      Robert Morris Levin                                                                         Case number (if known)    20-11046-BFK


       Creditor Name and Address                                Describe the Property                                         Date                      Value of the
                                                                                                                                                           property
                                                                Explain what happened
       M&T Bank                                                 Social security benefits                                      3/18/20                       $859.95
       P.O. Box 1302                                                                                                          ($286.65);
       Buffalo, NY 14240-1302                                        Property was repossessed.                                2/19/20
                                                                     Property was foreclosed.                                 ($286.65);
                                                                     Property was garnished.                                  1/15/20
                                                                                                                              ($286.65)
                                                                     Property was attached, seized or levied.

       M&T Bank                                                 Social security benefits                                      $282.15 every               $3,385.80
       P.O. Box 1302                                                                                                          month in 2019
       Buffalo, NY 14240-1302                                        Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                                                                                  loss                              lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                  Desc Main
                                                                     Document     Page 51 of 56
 Debtor 1      Robert Morris Levin                                                                         Case number (if known)    20-11046-BFK


 Part 7:       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Tyler, Bartl & Ramsdell, P.L.C.                                $3,500, plus $362 in applicable filing fees             7/27/17                     $3,862.00
       300 N. Washington St., Suite 310                               and costs
       Alexandria, VA 22314


       Access Counseling, Inc.                                                                                                3/16/2020                         $0.00



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
       Address                                                        property transferred                      payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                           Date Transfer was
                                                                                                                                                  made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was               Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,              before closing or
       Code)                                                                                                            moved, or                           transfer
                                                                                                                        transferred




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 20-11046-BFK                        Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                  Desc Main
                                                                     Document     Page 52 of 56
 Debtor 1      Robert Morris Levin                                                                               Case number (if known)   20-11046-BFK


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?                 Describe the contents                   Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                     have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents                   Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                             have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                               Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

       Systems Support Products, LLC                                  Debtor's residence                         Miscellaneous office furniture                  $500.00
       9126 Briarwood Farms Ct.                                                                                  and left over business inventory
       Fairfax, VA 22031-1346

       Debtor's wife                                                  Debtor's residence                         Debtor has mutual possession                   Unknown
       9126 Briarwood Farms Ct.                                                                                  of, and control over,
       Fairfax, VA 22031-1346                                                                                    miscellaneous personal
                                                                                                                 belongings of his wife, with
                                                                                                                 whom he resides


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you            Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 20-11046-BFK                        Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                                  Desc Main
                                                                     Document     Page 53 of 56
 Debtor 1      Robert Morris Levin                                                                               Case number (if known)   20-11046-BFK


25. Have you notified any governmental unit of any release of hazardous material?

             No
             Yes. Fill in the details.
        Name of site                                                  Governmental unit                             Environmental law, if you            Date of notice
        Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                    Court or agency                            Nature of the case                      Status of the
        Case Number                                                   Name                                                                               case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business                   Employer Identification number
        Address                                                                                                       Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                      Dates business existed
        Systems Support Products, LLC                           Office furniture manufacturing                        EIN:       XX-XXXXXXX
        dba Best Ergonomics
        14916 Bogle Dr.                                         E. Clifton Ingram, CPA                                From-To    August 2001-August 2016
        Chantilly, VA 20151-1723


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Robert Morris Levin
 Robert Morris Levin                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date      May 4, 2020                                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                            Desc Main
                                                                     Document     Page 54 of 56
 Debtor 1      Robert Morris Levin                                                                         Case number (if known)   20-11046-BFK



   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case 20-11046-BFK                      Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55             Desc Main
                                                                     Document     Page 55 of 56

 Fill in this information to identify your case:

 Debtor 1                 Robert Morris Levin
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA

 Case number           20-11046-BFK
 (if known)                                                                                                                Check if this is an
                                                                                                                           amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         M&T Bank                                             Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of       9126 Briarwood Farms Ct. Fairfax,                  Reaffirmation Agreement.
    property             VA 22031-1346 Fairfax County                       Retain the property and [explain]:
    securing debt:                                                         Make regular payments without formal
                                                                          reaffirmation agreement


    Creditor's         U.S. Bank Home Mortgage                              Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of       9126 Briarwood Farms Ct. Fairfax,                  Reaffirmation Agreement.
    property             VA 22031-1346 Fairfax County                       Retain the property and [explain]:
    securing debt:                                                         Make regular payments without formal
                                                                          reaffirmation agreement

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                            page 1

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
           Case 20-11046-BFK                         Doc 18           Filed 05/04/20 Entered 05/04/20 16:04:55                         Desc Main
                                                                     Document     Page 56 of 56

 Debtor 1      Robert Morris Levin                                                                   Case number (if known)    20-11046-BFK

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Robert Morris Levin                                                      X
       Robert Morris Levin                                                              Signature of Debtor 2
       Signature of Debtor 1

       Date        May 4, 2020                                                      Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
